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   7                         UNITED STATES DISTRICT COURT

   8                        CENTRAL DISTRICT OF CALIFORNIA

   9
        SUSAN SCHOFIELD,                      Case No. CV 22-4332-JGB (AS)
  10
                          Plaintiff,
  11
                                              REPORT AND RECOMMENDATION OF
              v.
  12
                                              UNITED STATES MAGISTRATE JUDGE
        COUNTY OF LOS ANGELES, et al.,
  13
                          Defendants.
  14

  15

  16         This Report and Recommendation is submitted to the Honorable

  17   Jesus G. Bernal, United States District Judge, pursuant to 28

  18   U.S.C. § 636 and General Order 05-07 of the United States District

  19   Court for the Central District of California.

  20

  21                                    INTRODUCTION

  22

  23         On June 23, 2022, Susan Schofield (“Plaintiff”), proceeding

  24   pro se, filed a Civil Rights Complaint pursuant to 42 U.S.C. § 1983

  25   (“Complaint”) against the following individuals: (1) the County of

  26   Los Angeles; (2) Judy Thomas; (3) Karen La; (4) Sandra Chavez; (5)

  27   Wendy Contreras; (6) Juliet Macias; (7) Linda Flores; (8) Arnesha

  28   Allen; (9) Bernadette Henley; (10) Laura Menke; and (11) Veronica
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   1   Betancourt-Parez.      (Dkt. No. 1).          On August 5, 2022, Defendant
   2   Menke filed a Motion to Dismiss the Complaint pursuant to Federal
   3   Rule of Civil Procedure 12(b)(6) for lack of jurisdiction, for
   4   untimeliness, and because Plaintiff has failed to state a claim
   5   upon which relief can be granted.1             (“Motion,” Dkt. No. 39).       On
   6   August 16, 2022, Plaintiff filed an Opposition to the Motion.
   7   (“Opposition,” Dkt. No. 43).            Defendant Menke filed a Reply on
   8   August 25, 2022.      (“Reply,” Dkt. No. 45).
   9

  10         For the reasons stated below, it is recommended that Defendant
  11   Menke’s Motion be GRANTED and the Complaint be dismissed with
  12   prejudice as to Defendant Menke.
  13

  14                            PLAINTIFF’S ALLEGATIONS
  15

  16         In her Complaint, Plaintiff alleges, generally, that her minor
  17   children were wrongfully removed from her custody by the Los
  18   Angeles    County    Department    of       Children    and   Family   Services.
  19   (Compliant    at    8-45).    As   to       Defendant    Menke,   specifically,
  20   Plaintiff alleges, without identifying Defendant Menke’s title or
  21

  22         1   In connection with her Motion, Defendant Menke submitted
       a Request for Judicial Notice (Dkt. No. 39-3), which should be
  23   granted because it requests judicial notice of judicial documents
       from Plaintiff’s juvenile dependency proceedings, which are
  24
       relevant and appropriate for judicial notice. See Harris v. County
  25   of Orange, 682 F.3d 1126, 1131-32 (9th Cir. 2012) (court may take
       judicial notice of undisputed matters of public record including
  26   documents on file in federal or state courts). Plaintiff does not
       object to granting Defendant Menke’s request for judicial notice
  27   and, in her Opposition, relies on the exhibits of which Defendant
       Menke has requested the Court take judicial notice.
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   1   role in the alleged wrongful action, only that Defendant Menke is
   2   believed by Plaintiff to be a resident of the County of Los Angeles
   3   (Complaint at 6); that Defendant Menke “knowingly, intentionally,
   4   and voluntarily collaborated with the remaining defendants in
   5   effectuating     their   unlawful    scheme/plan    to   keep   plaintiff’s
   6   children from her care, custody, and control for as long as
   7   possible” (Complaint at 33); and that Defendant Menke’s actions
   8   were “undertaken in direct breach of her fiduciary duties to her
   9   client, plaintiff” (Complaint at 33).
  10

  11         In the Motion, Defendant Menke identifies herself as “the
  12   Court-appointed attorney for Plaintiff . . . in an underlying Los
  13   Angeles County Juvenile Dependency Court case.”             (Motion at 2).
  14   According to Defendant Menke, she “represented [Plaintiff] in the
  15   initial adjudication hearing, which was decided in August 2019 and
  16   preceded the later disposition hearing wherein [Plaintiff] was
  17   represented by other counsel.”       (Motion at 2).      In her Opposition,
  18   Plaintiff agrees that Defendant Menke was counsel who was appointed
  19   in 2019 to represent Plaintiff at her adjudication hearing and that
  20   the decision at that hearing “marked the end of [Defendant] Menke’s
  21   representation of [Plaintiff] who was thereafter represented by a
  22   different attorney.”      (Opposition at 6).
  23

  24         Based on these allegations, Plaintiff contends Defendant Menke
  25   violated her constitutional rights to substantive due process to
  26   be free from the use of deception in judicial proceedings, and to
  27   familial association and/or privacy under the Fourteenth Amendment.
  28   (Complaint at 30, 32-34).         To remedy the purported violations,

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   1   Plaintiff seeks injunctive and declaratory relief, “corrective
   2   action,”    and    “a   reasonable   process   to   correct   the   resulting
   3   damages,” in addition to monetary damages and costs.                (Complaint
   4   at 42-45).
   5

   6                                STANDARD OF REVIEW
   7

   8         Under Rule 12(b)(6), a party may move to dismiss a pleading
   9   for “failure to state a claim upon which relief can be granted.”
  10   Fed. R. Civ. P. 12(b)(6).        A Rule 12(b)(6) motion to dismiss for
  11   failure to state a claim should be granted if the plaintiff fails
  12   to proffer “enough facts to state a claim to relief that is
  13   plausible on its face.”       Bell Atl. Corp. v. Twombly, 550 U.S. 544,
  14   570 (2007).       “A claim has facial plausibility when the plaintiff
  15   pleads factual content that allows the court to draw the reasonable
  16   inference that the defendant is liable for the misconduct alleged.”
  17   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Although the plaintiff
  18   must provide “more than labels and conclusions, and a formulaic
  19   recitation of the elements of a cause of action will not do,”
  20   Twombly, 550 U.S. at 555, “[s]pecific facts are not necessary; the
  21   [complaint] need only give the defendant[s] fair notice of what
  22   the . . . claim is and the grounds upon which it rests.”              Erickson
  23   v. Pardus, 551 U.S. 89, 93 (2007) (per curiam) (citations and
  24   internal quotation marks omitted).
  25

  26         “When ruling on a motion to dismiss, [the court] may generally
  27   consider only allegations contained in the pleadings, exhibits
  28   attached to the complaint, and matters properly subject to judicial

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   1   notice.”    Colony Cove Props., LLC v. City of Carson, 640 F.3d 948,
   2   955 (9th Cir. 2011) (citations, footnote, and internal quotation
   3   marks omitted).       The court must accept the complaint’s allegations
   4   as true, Twombly, 550 U.S. at 555-56, construe the pleading in the
   5   light most favorable to the pleading party, and resolve all doubts
   6   in the pleader’s favor.       Berg v. Popham, 412 F.3d 1122, 1125 (9th
   7   Cir. 2005).     Yet, the court “need not accept as true allegations
   8   contradicting documents that are referenced in the complaint or
   9   that are properly subject to judicial notice.”            Lazy Y Ranch Ltd.
  10   v. Behrens, 546 F.3d 580, 588 (9th Cir. 2006).                 Likewise, “the
  11   tenet that a court must accept as true all of the allegations
  12   contained in a complaint is inapplicable to legal conclusions.”
  13   Iqbal, 556 U.S. at 678.           Pro se pleadings are “to be liberally
  14   construed” and are held to a less stringent standard than those
  15   drafted by a lawyer.       Erickson, 551 U.S. at 94; see also Hebbe v.
  16   Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (“Iqbal incorporated the
  17   Twombly    pleading    standard    and   Twombly   did   not   alter   courts’
  18   treatment of pro se filings; accordingly, we continue to construe
  19   pro se filings liberally when evaluating them under Iqbal.”).
  20

  21         Dismissal for failure to state a claim can be warranted based
  22   on either a lack of a cognizable legal theory or the absence of
  23   factual support for a cognizable legal theory.             See Mendiondo v.
  24   Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).              A
  25   complaint may also be dismissed for failure to state a claim if it
  26   discloses some fact or complete defense that will necessarily
  27   defeat the claim.      Franklin v. Murphy, 745 F.2d 1221, 1228-29 (9th
  28   Cir. 1984).

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   1                                    DISCUSSION
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   3         In the Motion, Defendant Menke argues, among other things,
   4   that the Complaint is untimely.         (Motion at 8-9).   For the reasons
   5   stated below, the Motion should be granted and the Complaint
   6   dismissed with prejudice as to Defendant Menke.
   7

   8   A.    Plaintiff’s Federal Constitutional Claim Against Defendant
   9         Menke is Time-Barred
  10

  11         Because    the   Civil   Rights     Act   contains   no   statute      of
  12   limitations, “the federal courts [ ] apply the applicable period
  13   of limitations under state law for the jurisdiction in which the
  14   claim arose.”     Rose v. Rinaldi, 654 F.2d 546, 547 (9th Cir. 1981).
  15   The Ninth Circuit has held that, “[f]or actions under 42 U.S.C. §
  16   1983, courts apply the forum state’s statute of limitations for
  17   personal injury actions . . . .”          Jones v. Blanas, 393 F.3d 918,
  18   927 (9th Cir. 2004).         Thus, a two-year statute of limitations
  19   applies here.     See Cal. Civ. Proc. Code § 335.1.
  20

  21         Federal law, however, determines when a civil rights claim
  22   accrues.    TwoRivers v. Lewis, 174 F.3d 987, 991 (9th Cir. 1999).
  23   A claim accrues when the plaintiff knows or has reason to know of
  24   the injury which is the basis of the action.           Kimes v. Stone, 84
  25   F.3d 1121, 1128 (9th Cir. 1996); see also Knox v. Davis, 260 F.3d
  26   1009, 1013 (9th Cir. 2001) (quoting TwoRivers, 174 F.3d at 992).
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   1         Plaintiff’s     claim   against     Defendant    Menke   arises     from
   2   Defendant Menke’s representation of Plaintiff before and at the
   3   initial adjudication hearing.       Defendant Menke’s representation of
   4   Plaintiff began on March 13, 2019 (Defendant Menke’s Request for
   5   Judicial Notice Exh. A) and, as Plaintiff concedes, Defendant
   6   Menke’s    representation     of   Plaintiff   ended    when   the    initial
   7   adjudication decision was rendered on August 5, 2019.            (Defendant
   8   Menke’s Request for Judicial Notice Exhs. D-E; Opposition at 6).
   9   By August 27, 2019, Plaintiff was represented by new counsel.
  10   (Defendant Menke’s Request for Judicial Notice Exh. F).              Plaintiff
  11   does not allege that she did not know, or did not have reason to
  12   know, of Defendant Menke’s actionable conduct until sometime after
  13   Defendant Menke stopped representing Plaintiff and new counsel
  14   appeared on Plaintiff’s behalf.           Accordingly, Plaintiff’s claim
  15   against Defendant Menke accrued no later than August 27, 2019, when
  16   Defendant Menke was replaced as Plaintiff’s counsel.                 Plaintiff
  17   did not file this action until June 23, 2022, nearly one year after
  18   the expiration of the two-year limitations period for filing an
  19   action against Defendant Menke pursuant to 42 U.S.C. § 1983 and
  20   California Code of Civil Procedure § 335.1.
  21

  22         In addition, Plaintiff has not alleged, let alone established,
  23   an entitlement to equitable tolling of the statute of limitations.
  24   See Hinton v. Pacific Enterprises, 5 F.3d 391, 395 (9th Cir. 1993)
  25   (“The burden of alleging facts which would give rise to tolling
  26   falls upon the plaintiff.”).          “As with the limitations period
  27   itself, we borrow our rules for equitable tolling of the period
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   1   from the forum state, California.”         Cervantes v. City of San Diego,
   2   5 F.3d 1273, 1275 (9th Cir. 1993).
   3

   4         Although “[a] plaintiff’s pursuit of a remedy in another forum
   5   equitably tolls the limitations period if the plaintiff’s actions
   6   satisfy    [certain]    factors”   Cervantes,    5   F.3d    at   1276,   here,
   7   Plaintiff has not alleged that she ever has sought a remedy against
   8   Defendant Menke in another forum for the acts alleged in the
   9   Complaint.    Accordingly, Plaintiff has not alleged an entitlement
  10   to equitable tolling under Cervantes.           See Square 1 Bank v. Lo,
  11   2014 WL 4181907, at *7 (N.D. Cal. Aug. 22, 2014) (“The test in
  12   Cervantes is applicable where a plaintiff has previously filed a
  13   claim against the same defendants, which is not the case here.”).
  14

  15         Moreover, under California law, “[i]f a person entitled to
  16   bring an action . . . is, at the time the cause of action accrued
  17   . . . lacking the legal capacity to make decisions, the time of
  18   the disability is not part of the time limited for the commencement
  19   of the action.”        Cal. Civ. Proc. Code § 352(a).             Although the
  20   record before the Court suggests Plaintiff suffers from bipolar
  21   disorder (see, e.g., Complaint at 20, 24), Plaintiff does not
  22   allege, and the record does not contain any facts to support a
  23   finding that, Plaintiff lacked the legal capacity to make decisions
  24   at any time from the date her claim against Defendant Menke accrued
  25   to the time the two-year statute of limitations expired.
  26

  27         Ultimately, Plaintiff has not alleged she is entitled to
  28   equitable    tolling,    let   alone   presented     facts    sufficient     to

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   1   establish an entitlement to such tolling.                   Under such a scenario,
   2   it is appropriate to dismiss Plaintiff’s claims against Defendant
   3   Menke as untimely.         See Supermail Cargo, Inc. v. United States, 68
   4   F.3d 1204, 1206-07 (9th Cir. 1995) (court will grant a motion to
   5   dismiss based on the statute of limitations defense only “if the
   6   assertions of the complaint, read with the required liberality,
   7   would not permit the plaintiff to prove that the statute was
   8   tolled.”) (quoting Jablon v. Dean Witter & Co., 614 F.2d 677, 682
   9   (9th Cir. 1980)); see also Serrato v. Cnty. of Los Angeles, 2016
  10   WL 3982330 (C.D. Cal. Apr. 11, 2016), (recommending motion to
  11   dismiss    be    granted      and   complaint      dismissed     as     untimely    where
  12   “Plaintiff       has    not    argued   or       shown    that    equitable    tolling
  13   applies”); Finch v. Whitehead, 2019 WL 5902443, at *4-*6 (W.D.
  14   Wash.     Oct.    10,    2019)      (recognizing         that    that    “because     the
  15   applicability of the equitable tolling doctrine often depends on
  16   matters outside the pleadings, it ‘is not generally amenable to
  17   resolution on a Rule 12(b)(6) motion’” but recommending complaint
  18   be dismissed with prejudice as barred by statute of limitations at
  19   motion to dismiss stage where plaintiff had not pleaded any facts
  20   entitling him to equitable tolling) (quoting Supermail Cargo, Inc.,
  21   68 F.3d at 1206).
  22

  23         Accordingly, Plaintiff’s federal constitutional claim against
  24   Defendant Menke is time-barred and should be dismissed without
  25   leave to amend.
  26

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    1   B.     Plaintiff’s     Potential     State-Law       Legal     Malpractice        Claim
    2          Against Defendant Menke is Time-Barred
    3

    4          Similarly, to the extent Plaintiff intended to raise a state-
    5   law legal malpractice claim against Defendant Menke, the potential
    6   claim also is time-barred.
    7

    8          California Code of Civil Procedure § 340.6(a) sets forth the
    9   statute     of     limitations     for     legal   malpractice     actions        under
   10   California law: “An action against an attorney for a wrongful act
   11   or     omission,    other   than     for    actual    fraud,     arising     in    the
   12   performance of professional services shall be commenced within one
   13   year    after    the   plaintiff     discovers,      or   through    the     use    of
   14   reasonable diligence should have discovered, the facts constituting
   15   the wrongful act or omission, or four years from the date of the
   16   wrongful act or omission, whichever occurs first.... [T]he time
   17   for commencement of legal action shall not exceed four years except
   18   that the period shall be tolled during the time that any of the
   19   following exist: [¶] (1) The plaintiff has not sustained actual
   20   injury. [¶] (2) The attorney continues to represent the plaintiff
   21   regarding the specific subject matter in which the alleged wrongful
   22   act or omission occurred....”
   23

   24          Between the time of the initial adjudication hearing on August
   25   5, 2019 and the date on which Plaintiff began to be represented by
   26   different counsel on August 27, 2019, Plaintiff knew, or through
   27   the use of reasonable diligence should have known, of Defendant
   28   Menke’s actionable conduct.              (See Defendant Menke’s Request for

                                                   10
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    1   Judicial Notice Exhs. A-B, D-F).               In fact, Plaintiff does not
    2   allege otherwise.     Moreover, at that time, Plaintiff had sustained
    3   actual injury, in the form of the removal of her children from her
    4   custody.    (Complaint at 8, 18-19; Opposition at 6).               Finally, by
    5   August 27, 2019 Defendant Menke had ceased to represent Plaintiff.
    6   (Defendant Menke’s Request for Judicial Notice Exh. F).
    7

    8         Accordingly, pursuant to California Code of Civil Procedure §
    9   340.6(a), at the latest, Plaintiff had one year from August 27,
   10   2019 to file a legal malpractice claim against Defendant Menke.
   11   Because Plaintiff did not file the instant action until June 23,
   12   2022,   and,   as   explained     above    with   respect    to   her   federal
   13   constitutional claim against Defendant Menke, has failed to allege
   14   entitlement to equitable tolling, her state-law legal malpractice
   15   claim   against     Defendant    Menke    is   time-barred    and    should   be
   16   dismissed without leave to amend.
   17

   18                                   RECOMMENDATION
   19

   20         Consistent with the foregoing, IT IS RECOMMENDED that the
   21   District Court issue an Order: (1) approving and accepting this
   22   Report and Recommendation; (2) GRANTING Defendant Menke’s Request
   23   for Judicial Notice (Dkt. No. 39-3); and (3) GRANTING Defendant
   24

   25   \\
   26

   27   \\
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    1   Menke’s Motion (Dkt. No. 39) and dismissing Plaintiff’s Complaint
    2   with prejudice with respect to Defendant Menke.
    3

    4   Dated: September 14, 2022
                                                    ______________/s/_____________
    5                                                         ALKA SAGAR
                                                    UNITED STATES MAGISTRATE JUDGE
    6

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    8
                                           NOTICE
    9

   10
              Reports and Recommendations are not appealable to the Court
   11
        of Appeals, but may be subject to the right of any party to file
   12
        Objections as provided in Local Civil Rule 72 and review by the
   13
        District Judge whose initials appear in the docket number.                   No
   14
        Notice   of   Appeal   pursuant   to   the    Federal   Rules   of   Appellate
   15
        Procedure should be filed until entry of the Judgment of the
   16
        District Court.
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